     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 1 of 23



 1   JON W. DAVIDSON (pro hac vice)
     TARA L. BORELLI (pro hac vice)
 2   PETER C. RENN (pro hac vice)
 3   SHELBI DAY (pro hac vice)
     LAMBDA LEGAL DEFENSE AND EDUCATION FUND, INC.
 4   3325 Wilshire Boulevard, Suite 1300
     Los Angeles, California 90010
 5   Email: jdavidson@lambdalegal.org
     tborelli@lambdalegal.org
 6   prenn@lambdalegal.org
 7   sday@lambdalegal.org
     Tel: 213.382.7600 | Fax: 213.351.6050
 8
     CARLA CHRISTOFFERSON (pro hac vice)
 9   DAWN SESTITO (pro hac vice)
     MELANIE CRISTOL (pro hac vice)
10
     RAHI AZIZI (pro hac vice)
11   O’MELVENY & MYERS LLP
     400 South Hope Street
12   Los Angeles, California 90071
     Email: cchristofferson@omm.com
13   dsestito@omm.com
     mcristol@omm.com
14
     razizi@omm.com
15   Tel: 213.430.6000 | Fax: 213.430.6407

16   KELLY H. DOVE (Nevada Bar No. 10569)
     MAREK P. BUTE (Nevada Bar No. 09989)
17   SNELL & WILMER LLP
     3883 Howard Hughes Parkway, Suite 1100
18   Las Vegas, Nevada 89169
19   Email: kdove@swlaw.com
     mbute@swlaw.com
20   Tel: 702.784.5200 | Fax: 702.784.5252

21   Attorneys for Plaintiffs
22                              UNITED STATES DISTRICT COURT
23                                  DISTRICT OF NEVADA
24   BEVERLY SEVCIK and MARY                   No. 2:12-CV-00578-RCJ-PAL
25   BARANOVICH; ANTIOCO CARRILLO
     and THEODORE SMALL; KAREN                 PLAINTIFFS’ OPPOSITION TO THE
26   GOODY and KAREN VIBE; FLETCHER            COALITION FOR THE PROTECTION
     WHITWELL and GREG FLAMER;                 OF MARRIAGE’S MOTION TO
27   MIKYLA MILLER and KATRINA                 INTERVENE
     MILLER; ADELE TERRANOVA and
28
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 2 of 23



 1   TARA NEWBERRY; CAREN
     CAFFERATA-JENKINS and FARRELL
 2   CAFFERATA-JENKINS; and MEGAN
 3   LANZ and SARA GEIGER,

 4                        Plaintiffs,

 5          v.

 6   BRIAN SANDOVAL, in his official capacity
     as Governor of the State of Nevada; DIANA
 7   ALBA, in her official capacity as Clerk for
     Clark County; AMY HARVEY, in her
 8   official capacity as Clerk for Washoe
     County; and ALAN GLOVER, in his official
 9
     capacity as Clerk-Recorder for Carson City,
10
                          Defendants,
11
     and
12
     THE COALITION FOR THE
13   PROTECTION OF MARRIAGE,
14                        Proposed Intervenor.
15

16

17

18

19

20

21

22

23

24

25

26

27
28
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 3 of 23



 1
                                                 TABLE OF CONTENTS
 2
                                                                                                                                   Page
 3   I.     INTRODUCTION ............................................................................................................... 1

 4   II.    STATEMENT OF FACTS .................................................................................................. 2

 5   III.   ARGUMENT ....................................................................................................................... 2

 6          A.        The Coalition’s “Marriage Facts” Are Not Pertinent To This Motion. ................... 2

 7          B.        The Coalition Is Not Entitled to Intervene as a Matter of Right. ............................. 3

 8                    1.         Intervention Is Not Automatic For Initiative Sponsors. ............................... 4

 9                    2.         The Coalition’s Only Arguably Protectable Interest In This Litigation
                                 Arises From Its Role As The Proponent Of The Constitutional Marriage
10                               Ban. .............................................................................................................. 5

11                    3.         Plaintiffs’ Lawsuit May Impair Only The Coalition’s Interest As Proponent
                                 Of The Constitutional Marriage Ban............................................................ 8
12
                      4.         The Coalition’s Interests Are Adequately Represented by the State of
13                               Nevada. ........................................................................................................ 8

14          C.        Subject To Certain Limitations, Plaintiffs Do Not Oppose The Coalition’s Motion
                      To The Extent It Seeks Permissive Intervention. ................................................... 13
15
     IV.    CONCLUSION .................................................................................................................. 15
16

17

18

19

20

21

22

23

24

25

26

27
28

                                                                       -i-
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 4 of 23



 1
                                                       TABLE OF AUTHORITIES
 2
                                                                                                                                            Page(s)
 3
                                                         Cases
 4   Arakaki v. Cayetano,
        324 F.3d 1078 (9th Cir. 2003)........................................................................................ 5, 6, 8, 9
 5
     Arizonans for Official English (AOE) v. Arizona,
 6       520 U.S. 43 (1997) ..................................................................................................................... 4
 7   Bd. of Trustees of Univ. of Ala. v. Garrett,
         531 U.S. 356 (2001) ................................................................................................................... 6
 8

 9   Beauregard, Inc. v. Sword Servs., LLC,
        107 F. 3d 351 (5th Cir. 1997)................................................................................................... 14
10
     Center for Biological Diversity v. Kempthorne,
11      No. C 08-1339 CW, 2008 WL 4542947 (N.D. Cal. Oct. 2, 2008) .......................................... 14

12   Citizens for Balanced Use v. Montana Wilderness Ass’n,
         647 F. 3d 893 (9th Cir. 2011)............................................................................................... 9, 11
13
     City of Cleburne, Tex. v. Cleburne Living Center,
14
         473 U.S. 432 (1985) ................................................................................................................... 6
15
     Dep’t of Fair Empl. & Hous. v. Lucent Techs, Inc.,
16      642 F.3d 728 (9th Cir. 2011).............................................................................................. 13, 14

17   Doe v. Schwarzenegger,
        No. CIV. S-06-2521 LKK/GGH, 2007 U.S. Dist. LEXIS 850 (E.D. Cal. Jan.
18      18, 2007) .................................................................................................................................... 9
19   Donnelly v. Glickman,
20      159 F. 3d 405 (9th Cir. 1998)..................................................................................................... 3

21   Edmondson v. Nebraska,
        383 F.2d 123 (8th Cir. 1986)...................................................................................................... 6
22
     Flynn v. Hubbard,
23      782 F.2d 1084 (5th Cir. 1986).................................................................................................... 6
24   Freedom from Religion Foundation, Inc. v. Geithner,
25      644 F.3d 836 (9th Cir. 2011).................................................................................................... 10

26   Gonzalez v. Arizona,
        485 F.3d 1041 (9th Cir. 2007).................................................................................................. 12
27
     League of United Latin American Citizens v. Wilson,
28      131 F.3d 1297 (9th Cir. 1997).............................................................................................. 4, 12

                                                                           - ii -
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 5 of 23
                                                                                                                                         Page(s)

 1   NLRB v. Arizona,
       No. CV 11-00913-PHX-FJM, 2011 WL 4852312 (D. Ariz. Oct. 13, 2011) ........................... 14
 2
     O’Connor v. Donaldson,
 3
        422 U.S. 563 (1975) ................................................................................................................... 4
 4
     Oregon Environmental Council v. Oregon Dep’t of Environmental,
 5      775 F. Supp. 353 (D. Or. 1991) ............................................................................................... 10

 6   Perry v. Brown,
        671 F.3d 1052 (9th Cir. 2012)................................................................................................ 7, 8
 7
     Perry v. Proposition 8 Official Proponents,
 8      587 F.3d 947 (9th Cir. 2009)............................................................................................ 4, 9, 13
 9
     Pest Comm. v. Miller,
10      648 F. Supp. 2d 1202 (D. Nev. 2009) ...................................................................... 9, 10, 13, 15

11   Prete v. Bradbury,
        438 F.3d 949 (9th Cir. 2006)...................................................................................... 4, 8, 10, 11
12
     River Runners for Wilderness v. Alston,
13      No. CV-06-0894 PCT-DGC, 2006 WL 2971495 (D. Ariz. Oct. 17, 2006) ............................. 14
14
     Sagebrush Rebellion, Inc. v. Watt,
15      713 F.2d 525 (9th Cir. 1983)................................................................................................ 8, 12

16   Sierra Club v. Morton,
         405 U.S. 727 (1972) ................................................................................................................... 7
17
     Southern Cal. Edison Co. v. Lynch,
18      307 F.3d 794 (9th Cir. 2002).................................................................................................. 5, 7
19   State ex rel. Lockyer v. United States,
20       450 F.3d 436 (9th Cir. 2006)...................................................................................................... 9

21   U.S. v. Alisal Water Corp.,
        370 F.3d 915 (9th Cir. 2004).................................................................................................. 4, 5
22
     United States v. City of Los Angeles,
23      288 F.3d 391 (9th Cir. 2002).................................................................................................... 10
24   Van Hoomison v. Xerox Corp.,
        497 F.2d 180 (9th Cir. 1974).................................................................................................... 14
25

26   Yniguez v. State of Arizona,
        939 F.3d 727 (9th Cir. 1991)...................................................................................................... 4
27
                                                        Other Authorities
28   Nev. Const. art. I, § 21 ..................................................................................................................... 5

                                                                         - iii -
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 6 of 23
                                                                                                                                Page(s)

 1                                                           Rules
     Fed. Rule Civ. Proc. Rule 24 .................................................................................................. passim
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28

                                                                    - iv -
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 7 of 23



 1     I.    INTRODUCTION
 2           Plaintiffs are productive and loyal residents of the State of Nevada who seek to solemnize
 3
     their love and devotion toward their life partners by marrying them (or having their out-of-state
 4
     marriages recognized)—a right the State precludes them and other same-sex couples from
 5
     exercising. The Coalition for the Protection of Marriage (the “Coalition”) seeks to intervene in
 6
     the case, asserting that its role as the ballot initiative proponent for Nevada’s constitutional
 7

 8   marriage ban entitles it to intervene in this case as a matter of right without any further inquiry.

 9   Binding law is to the contrary. The Ninth Circuit has indicated that proponents of a ballot
10   initiative typically have a significant protectable interest in litigation challenging that initiative,
11
     but that is only one part of a four-part test to determine whether intervention as of right is
12
     permitted. In a case remarkably similar to this one, the Ninth Circuit held that a ballot initiative
13
     sponsor had no right to intervene because the lawsuit was being defended by the government,
14

15   which adequately represented the sponsor’s interests. That reasoning applies here and compels

16   the denial of the Coalition’s motion for intervention as of right.

17           Although Plaintiffs oppose the Coalition’s motion to intervene as of right, they do not
18   oppose permissive intervention on a limited basis to ensure that the Coalition’s participation does
19
     not impede the efficiency of the proceedings. Participation as a permissive intervenor, subject to
20
     reasonable limitations, will allow the Coalition to present its views and arguments in support of
21
     the marriage ban, but will also protect the rights of Plaintiffs to ensure that the litigation proceeds
22

23   without undue delay or burdens caused by intervention of this additional defendant and its

24   counsel. Accordingly, and as explained more fully below, Plaintiffs respectfully request that the

25   Court deny the Coalition’s motion to intervene as of right but allow it to participate as a
26
     permissive intervenor subject to the following conditions: (1) the government shall continue to
27
     be the lead defendants, and as such shall control the scope of discovery on behalf of the
28
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 8 of 23



 1   government defendants and the Coalition; (2) the Coalition shall not introduce witnesses on topics
 2   duplicative of those addressed by witnesses introduced by the government defendants; and (3) the
 3
     Coalition shall adhere to the Stipulated Discovery Plan and Scheduling Order jointly filed by the
 4
     parties and shall make its best efforts to comply with future deadlines agreed upon by Plaintiffs
 5
     and the government defendants.
 6

 7    II.   STATEMENT OF FACTS

 8          Plaintiffs are eight loving, committed same-sex couples who reside in Nevada. (Compl. at

 9   ¶ 1.) Like other residents, they “experience the same joys and shoulder the same-challenges of
10   family life as their heterosexual neighbors, co-workers, and other community members who
11
     freely may marry.” (Compl. at ¶ 23.) They are hardworking, contributing citizens who “support
12
     their families and nurture their children.” (Compl. at ¶ 23.) Because of Nevada’s marriage ban,
13
     plaintiffs are unable to marry in Nevada or have their out-of-state marriages recognized within the
14

15   State. Their exclusion from marriage and relegation to a second-class status inflicts serious and

16   irreparable harms upon them. (Compl. at ¶ 4.) In this lawsuit, they challenge Nevada’s

17   constitutional and statutory marriage ban as violating the Equal Protection Clause of the federal
18   Constitution. (Compl. at ¶ 88.) Plaintiffs filed their complaint against Governor Brian Sandoval
19
     and three county clerks on April 10, 2012. On May 17, 2012, Governor Sandoval filed a motion
20
     to dismiss the complaint (Dkt. #32), two days after the Coalition filed its motion to intervene
21
     (Dkt. #30).
22

23   III.   ARGUMENT

24           A.     The Coalition’s “Marriage Facts” Are Not Pertinent To This Motion.

25          Rather than address intervention at the outset, the Coalition offers an “executive

26   summary” of alleged “marriage facts,” which the Coalition states that it intends to present to the
27
     Court in defense of Nevada’s marriage ban, Article 1, § 21 of the Nevada Constitution. (Brief of
28

                                                     -2-
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 9 of 23



 1   Coalition, pages 7-12.) The executive summary and supporting Affidavit of Monte Neil Stewart
 2   are unrelated to the legal issues raised in the Coalition’s motion and should be stricken and
 3
     disregarded by the Court.1 Plaintiffs strongly disagree with the Coalition’s view of the institution
 4
     of marriage and intend to present legal arguments and evidence to the Court on these issues at the
 5
     appropriate time. For purposes of this opposition, however, Plaintiffs will focus on the issue
 6

 7   before the Court—whether the Coalition has a right to intervene in this lawsuit. To the extent the

 8   Coalition believes its presentation of the information set forth in the executive summary is

 9   important to the Court’s consideration of Plaintiffs’ claims, that does not justify intervention as of
10
     right. The Coalition’s participation as a limited permissive intervenor would similarly allow it to
11
     present this information to the Court.
12
               B.     The Coalition Is Not Entitled to Intervene as a Matter of Right.
13
             Absent a federal statute conferring a right to intervene—which the Coalition does not
14

15   invoke—intervention under Rule 24(a) is only allowed where the applicant “claims an interest

16   relating to the property or transaction that is the subject of the action, and is so situated that

17   disposing of the action may as a practical matter impair or impede the movant’s ability to protect
18   its interest, unless existing parties adequately represent that interest.” Fed. Rule Civ. Proc. Rule
19
     24(a)(2). To make this showing, the applicant must prove that: (1) its motion for intervention is
20
     timely; (2) it has a significant protectable interest relating to the property or transaction that is the
21
     subject of the action; (3) the disposition of the action may, as a practical matter, impair or impede
22

23   the applicant’s ability to protects its interests; and (4) the existing parties may not adequately

24   represent the applicant’s interest. Donnelly v. Glickman, 159 F. 3d 405, 409 (9th Cir. 1998).

25   Failure to meet any one of these requirements is fatal to the Coalition’s application. Perry v.
26

27   1
      Similarly, the Affidavit of William C. Duncan—which purports to describe the litigation strategy used in other
     cases—is not relevant, lacks foundation, and is not based on personal knowledge. It should also be stricken and
28   disregarded by the Court.

                                                            -3-
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 10 of 23



 1   Proposition 8 Official Proponents, 587 F.3d 947, 950 (9th Cir. 2009). As described more fully
 2   below, the Coalition has no right to intervene because its interests will be adequately protected by
 3
     the existing parties.
 4
                       1.       Intervention Is Not Automatic For Initiative Sponsors.
 5
              The Coalition argues that “if the proposed intervenor can establish that it was the
 6
     proponent of a challenged ballot initiative,” a “per se” rule applies that compels intervention.2
 7

 8   That is incorrect. Although the Ninth Circuit has held that the official sponsors of a ballot

 9   initiative typically have a significant protectable interest in an action challenging that initiative, it
10   is also clear that the proposed intervenor—ballot sponsor or not—must independently satisfy the
11
     other three requirements for intervention. See, e.g., U.S. v. Alisal Water Corp., 370 F.3d 915, 919
12
     (9th Cir. 2004) (holding that “[t]he party seeking to intervene bears the burden of showing that all
13
     the requirements for intervention have been met”). For example, in Prete v. Bradbury, the Ninth
14

15   Circuit held that sponsors of an Oregon initiative had a protectable interest in a case challenging

16   the initiative, but determined that the sponsors were not entitled to intervene because the

17   government adequately represented their interests. 438 F.3d 949, 955-56, 957-59 (9th Cir. 2006);
18   see also League of United Latin American Citizens v. Wilson, 131 F.3d 1297 (9th Cir. 1997)
19
     (upholding denial of intervention for group whose members participated in the drafting and
20
     sponsoring of ballot initiative because government adequately represented their interests). Under
21
     Prete, this Court must consider all four intervention factors.
22

23
     2
      Several of the cases cited by the Coalition in support of the purported “per se” rule do not support it. Most notably,
24   the Coalition relies on Prete v. Bradbury, 438 F.3d 949 (9th Cir. 2006), but that case does not support a per se rule.
     Quite the opposite, the Prete court held that intervention was not appropriate for initiative sponsors. Prete is on point
25   and is discussed throughout this opposition. In addition, the Coalition relies on Yniguez v. State of Arizona, 939 F.3d
     727 (9th Cir. 1991). But that decision was vacated by the United States Supreme Court and lacks precedential
26   authority. See Arizonans for Official English (AOE) v. Arizona, 520 U.S. 43, 80 (1997); League of United Latin Am.
     Citizens v. Wilson, 131 F.3d 1297, 1305 n.5 (9th Cir. 1997) (noting Yniguez was vacated by the U.S. Supreme Court
27   and “is thus wholly without precedential authority”); see generally O’Connor v. Donaldson, 422 U.S. 563, 577 n.12
     (1975) (holding that “[o]f necessity our decision vacating the judgment of the Court of Appeals deprives that court’s
28   opinion of precedential effect”).

                                                               -4-
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 11 of 23



 1                  2.      The Coalition’s Only Arguably Protectable Interest In This Litigation
                            Arises From Its Role As The Proponent Of The Constitutional Marriage
 2                          Ban.
 3
            Plaintiffs’ lawsuit challenges on equal protection grounds the constitutionality of
 4
     Nevada’s marriage ban, including the constitutional amendment enacted in 2002 providing that
 5
     “[o]nly a marriage between a male and female person shall be recognized and given effect in this
 6
     state.” Nev. Const. art. I, § 21. The Coalition advances four possible significant protectable
 7

 8   interests relating to this lawsuit: (1) an interest as a proponent of the marriage ban; (2) a

 9   reputational interest; (3) an “interest in its associational capacity in protecting its married and
10   engaged members’ liberty interest in the perpetuation of the vital social institution of man-woman
11
     marriage”; and (4) an interest in protecting “the religious liberty of its members . . . whose
12
     religious foundations support man-woman marriage.” (Brief of Coalition, pages 16-17.) Of these
13
     interests, only the first—its interest as proponent of the marriage ban—is significant and
14

15   protectable under established case law, as discussed below. Accordingly, the Court’s evaluation

16   of the Coalition’s motion to intervene should focus solely on its interest as a ballot proponent.

17          To establish a significant protectable interest, an applicant must demonstrate: (1) an
18   interest protectable under some law; and (2) a relationship between the legally protected interest
19
     and the claims at issue. Arakaki v. Cayetano, 324 F.3d 1078, 1084 (9th Cir. 2003). An
20
     “undifferentiated, generalized interest in the outcome of an ongoing action is too porous a
21
     foundation on which to premise intervention as of right.” Southern Cal. Edison Co. v. Lynch, 307
22

23   F.3d 794, 803 (9th Cir. 2002). The interest must be “direct, noncontingent, substantial and legally

24   protectable.” Id. (internal quotation marks omitted). For instance, pure economic expectancy is

25   not a legally protectable interest for purposes of intervention. See, e.g., U.S. v. Alisal Water
26
     Corp., 370 F.3d 915, 919 (9th Cir. 2004) (holding that prospective collectability of debt does not
27
     trigger a right of intervention). Even where a protectable interest exists, an applicant must satisfy
28

                                                      -5-
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 12 of 23



 1   the relationship requirement by showing that “the resolution of the plaintiff’s claims actually will
 2   affect the applicant.” Arakaki, 324 F.3d at 1084.
 3
            First, the Coalition claims its members’ “reputational” interest in not being the targets of
 4
     supposed bigotry arguments satisfies Rule 24. (Brief of Coalition, page 17.) Not so. An
 5
     applicant’s “reputation” is not a significant protected interest warranting intervention. See Flynn
 6

 7   v. Hubbard, 782 F.2d 1084, 1093 (5th Cir. 1986) (holding that “a party’s reputation interest has

 8   not been found sufficient to require intervention as of right”); see also Edmondson v. Nebraska,

 9   383 F.2d 123, 127 (8th Cir. 1986) (holding that “the mere fact that [an applicant’s] reputation is
10
     thereby injured is not enough” to warrant intervention).
11
            Moreover, any “reputational” interest bears no relationship to the claims at issue. The
12
     Coalition alleges that “Plaintiffs’ camp will make animus/bigotry arguments,” but cannot identify
13
     any specific charge of animus or bigotry in the complaint or any substantive pleading directed
14

15   specifically against the Coalition. (Brief of Coalition, page 13.) Furthermore, Plaintiffs need not

16   prove animus to prevail on their equal protection claim, and, in any event, animus is not the same
17   thing as bigotry. As Justice Kennedy eloquently stated, “[p]rejudice, we are beginning to
18
     understand, rises not from malice or hostile animus alone.” Bd. of Trustees of Univ. of Ala. v.
19
     Garrett, 531 U.S. 356, 374 (2001) (Kennedy, J., concurring); see also City of Cleburne, Tex. v.
20
     Cleburne Living Center, 473 U.S. 432, 448-50 (1985) (striking down use permit ordinance
21

22   because law rested on “a view that those in the burdened class are not as worthy or deserving as

23   others”).

24          Second, the Coalition’s supposed interests in protecting “its members’ liberty interest in
25   the perpetuation of the vital social institution of man-woman marriage” and “the religious liberty
26
     of its members who are people of faith and whose religious foundations support man-woman
27
     marriage” are similarly not significant or protected for purposes of intervention. (Brief of
28

                                                     -6-
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 13 of 23



 1   Coalition, page 17.) The Coalition seeks to establish and maintain an ideological uniformity
 2   between the law and its members’ views. But organizations are not entitled to “vindicate their
 3
     own value preferences through the judicial process.” Sierra Club v. Morton, 405 U.S. 727, 740
 4
     (1972).3 And the suggestion that the “marriage institution” will be harmed or cease to exist if
 5
     Plaintiffs prevail does not create a protectable interest either. As noted above, an
 6

 7   “undifferentiated, generalized interest in the outcome of an ongoing action is too porous a

 8   foundation on which to premise intervention as of right.” Southern Cal. Edison, 307 F.3d at 803.

 9   Furthermore, as the Ninth Circuit recently held, “[i]t is implausible to think that denying two men
10
     or two women the right to call themselves married could somehow bolster the stability of families
11
     headed by one man and one woman.” Perry v. Brown, 671 F.3d 1052, 1089 (9th Cir. 2012).
12
              Furthermore, the Coalition’s liberty and religious interests have no relationship to the
13
     lawsuit. Plaintiffs wish to enter into civil marriage or have their out-of-state marriages
14

15   recognized by the State of Nevada. They do not seek to compel the Coalition’s members to

16   change their religious or philosophical conception of marriage. This case does not adversely
17   affect anyone else’s ability to marry. The Coalition’s contention that the “marriage institution” to
18
     which its members belong “will simply no longer be available to them or to their children” in
19
     violation of their liberty and religious interests is foreclosed by the Ninth Circuit’s recent decision
20
     in Perry v. Brown. In that case, the Ninth Circuit unequivocally held that permitting same-sex
21

22   couples to marry does not require any religious group to “change its religious policies or practices

23   with regard to same-sex couples” and that California’s marriage ban did nothing to promote “the

24   religious liberty interest” of religious organizations by, for example, permitting them to refuse
25   public accommodation based on sexual orientation in violation of anti-discrimination statutes.
26
     3
      The Coalition ironically argues that Plaintiffs are impermissibly “imposing on government a duty to construct and
27   maintain . . . the radically different genderless marriage institution” (Brief of Coalition, page 10), but simultaneously
     believes the Court has a duty to protect its members’ “religious liberty interests” by ensuring “the perpetuation of the
28   vital social institution of man-woman marriage.” (Id.)

                                                               -7-
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 14 of 23



 1   Perry v. Brown, 671 F.3d at 1091. Because Nevada’s marriage ban does nothing to promote
 2   religious liberty, its invalidation will do nothing to undermine that interest.
 3
                    3.      Plaintiffs’ Lawsuit May Impair Only The Coalition’s Interest As Proponent
 4                          Of The Constitutional Marriage Ban.

 5          Intervention is only proper if the Plaintiffs’ lawsuit may as a practical matter impair or
 6   impede “the ability of the [intervening] organization to protect its interests.” Sagebrush
 7
     Rebellion, Inc. v. Watt, 713 F.2d 525, 528 (9th Cir. 1983). Because the Coalition has only one
 8
     significant protectable interest—as proponent of the Constitutional marriage ban—that is the only
 9
     interest that may be impaired by disposition of this lawsuit.
10

11                  4.      The Coalition’s Interests Are Adequately Represented by the State of
                            Nevada.
12
            Even if its interests are significant and may be impaired, an applicant has no right to
13
     intervene if its interests are adequately represented by the existing parties. Arakaki v. Cayetano,
14
     324 F.3d 1078, 1086 (9th Cir. 2003). In Prete v. Bradbury, the Ninth Circuit held that an
15

16   initiative sponsor was not permitted to intervene because it “failed to present evidence sufficient

17   to support a finding that their interests are not adequately represented . . . .” 438 F.3d 949, 959
18   (9th Cir. 2006). That case controls here and compels the denial of the Coalition’s motion.
19
            In evaluating whether a potential intervenor’s interests are adequately represented, the
20
     Court looks at whether the parties “share the same ultimate objective.” Arakaki, 324 F.3d at
21
     1086. If so, a presumption of adequacy arises and “differences in litigation strategy [will] not
22

23   normally justify intervention.” Id. There is an additional “assumption of adequacy when the

24   government is acting on behalf of a constituency that it represents.” Id. In the absence of “a very

25   compelling showing to the contrary, it will be presumed that a State adequately represents its
26

27
28

                                                      -8-
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 15 of 23



 1   citizens when the applicant shares the same interest.”4Id. (emphasis added; internal quotations
 2   omitted).
 3
              While the Coalition argues that ballot sponsors can satisfy Rule 24 more easily than other
 4
     applicants, the Arakaki presumptions mean that they actually bear a greater burden: they must
 5
     “make a ‘very compelling showing’ of the government’s inadequacy by demonstrating a
 6

 7   likelihood that the government will abandon or concede a potentially meritorious reading of the

 8   statute.” State ex rel. Lockyer v. United States, 450 F.3d 436, 444 (9th Cir. 2006). The

 9   presumption is difficult to overcome because the government represents all citizens, including
10
     proponents of the measure, and is “sufficiently familiar with legal challenges to initiative
11
     petitions so as to adequately represent the Proposed Intervenors’ interest.” See e.g., Pest Comm.
12
     v. Miller, 648 F. Supp. 2d 1202, 1212-14 (D. Nev. 2009) (finding that Nevada’s Secretary of State
13
     and referendum sponsors “shared the same ultimate objective: to uphold [Nevada’s statutory
14

15   requirements for referendum petitions] against constitutional attack,” and that the sponsors

16   therefore “failed to demonstrate that their interests [were] inadequately represented by the present
17   parties”). So long as the central objective of the sponsor and the State is the same, the
18
     representation will be deemed adequate unless the would-be intervenor provides compelling
19
     evidence to the contrary.5 This rule applies even where the government “welcomes the aid of
20
     intervenors on [its] behalf.” See Doe v. Schwarzenegger, No. CIV. S-06-2521 LKK/GGH, 2007
21

22   U.S. Dist. LEXIS 850, at *9 (E.D. Cal. Jan. 18, 2007) (holding that the government’s statement of

23

24
     4
      The Coalition selectively cites to Citizens for Balanced Use v. Montana Wilderness Ass’n, 647 F. 3d 893 (9th Cir.
25   2011), and quotes a 3-factor test used to determine adequacy of representation. (Brief of Coalition, page 19.) The
     Citizens court went on to explain the Arakaki presumptions and stated expressly that an applicant for intervention
26   must make a “compelling showing” of inadequacy of representation where the presumptions apply. Id. at 898. The
     Coalition conveniently ignores that portion of the legal standard.
27   5
      See also Perry, 587 F. 3d at 953 (denying the California Family Alliance’s motion to intervene because its “interest
     in defending the opposite-sex definition of marriage under California law was not ‘meaningfully distinct’ from the
28   Proponents’ interest in defending the constitutionality of [California’s marriage ban]”).

                                                             -9-
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 16 of 23



 1   non-opposition to a motion to intervene did not “constitute[] a concession” that it could not
 2   adequately represent an applicant’s interests in defending Proposition 83).
 3
            In this case, the Coalition fails to overcome the presumption of adequate representation,
 4
     and the Ninth Circuit’s decision in Prete v. Bradbury controls. In Prete, the sponsor of an
 5
     Oregon ballot measure sought to intervene in a lawsuit challenging the ballot measure. The Ninth
 6

 7   Circuit agreed that the first three prongs of the intervention test had been met, but held that the

 8   intervenor failed to present “that compelling showing of inadequate representation.” 438 F. 3d at

 9   957. As in Prete and Pest Comm., the Coalition and the Governor share the same ultimate
10
     objective in this case: to uphold the marriage ban against constitutional attack. In filing a motion
11
     to dismiss, the Governor has expressed his intent to defend the ban and in effect further the
12
     Coalition’s interests. See, e.g., Freedom from Religion Foundation, Inc. v. Geithner, 644 F.3d
13
     836, 842 (9th Cir. 2011) (finding that representation was adequate because the government’s
14

15   motion to dismiss reflected its desire to defend the law). While the Coalition purports to have a

16   different or unique motive in defending the marriage ban (to “protect the particular and personal
17   liberty interests of people like the Coalition’s married and engaged members . . . ” (Brief of
18
     Coalition, page 20)), differences in litigation strategy or motives do not render the government’s
19
     representation inadequate. United States v. City of Los Angeles, 288 F.3d 391, 403 (9th Cir.
20
     2002) (concluding that “[A]ny differences they [the proposed intervenors] ha[d] were merely
21

22   differences in strategy, which [we]re not enough to justify intervention as a matter of right”); see

23   Oregon Environmental Council v. Oregon Dep’t of Environmental, 775 F. Supp. 353, 359 (D. Or.

24   1991) (holding that “[t]he interest of a putative intervenor is not inadequately represented by a
25   party to a lawsuit simply because the party to the lawsuit has a motive to litigation that is different
26
     from the motive to litigate of the intervenor”).
27
28

                                                        - 10 -
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 17 of 23



 1            The Coalition’s arguments for why the government’s defense is inadequate have already
 2   been rejected by the Ninth Circuit in Prete, and so should they be rejected here.6 The Coalition
 3
     says that it would bring a specific type of “fact-based” expertise concerning the “social
 4
     institutional argument for man-woman marriage.” (Brief of Coalition, page 21.) It also argues
 5
     that the “short-budgeted office” of the Attorney General lacks the “requisite depth of knowledge
 6

 7   regarding th[is] defense.” (Id.) The ballot sponsor in Prete similarly argued that the defendant

 8   was not able to “provide a complete defense of [the initiative] due to ‘budgetary constraints.’”

 9   438 F.3d at 957. The Ninth Circuit observed that “[v]irtually all governments face budget
10
     constraints,” and that “if such a basis were sufficient to establish inadequate representation, it
11
     would eliminate the presumption of adequate representation when the government and the
12
     intervenor-applicant share the same interest.” Id. The Ninth Circuit also dismissed the sponsor’s
13
     claim that the Secretary of State lacked “specialized knowledge into the signature gathering
14

15   process” and would not be able to “fully develop the record and respond to plaintiff’s factual

16   allegations.” Id. at 958. The court presumed that the Secretary either had this knowledge or
17   could acquire it through the use of experts or discovery (including consultation with the ballot
18
     sponsor). Id. As in Prete, the Coalition has not presented any evidence to demonstrate that
19
     Governor Sandoval’s defense will be inadequate, and so the presumption of adequate
20
     representation has not been rebutted.
21

22            Cases where a government’s defense of a law was found to be inadequate are materially

23   different. For example, in Citizens for Balanced Use v. Montana Wilderness Ass’n, the only case

24   that the Coalition cites in its discussion of inadequate representation, the plaintiffs challenged an
25   interim order restricting snowmobile use in a national forest and various conversation groups
26
     6
      Other than its misleading and incomplete citation to Citizens for Balanced Use for the general test to determine
27   inadequacy of representation, the Coalition does not cite a single case in its discussion of why the Governor’s defense
     will not adequately represent the Coalition’s interests. (Brief of Coalition, pages 19-21.) This lack of legal support is
28   telling.

                                                              - 11 -
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 18 of 23



 1   moved to intervene in support of the order. 647 F.3d 893, 896 (9th Cir. 2011). The conservation
 2   groups demonstrated that the Forest Service’s defense would not adequately protect their interests
 3
     because they did not share the same ultimate objectives. Specifically, the Forest Service
 4
     implemented the interim order under compulsion of a prior district court decision, and it was
 5
     challenging that decision on appeal. Id. at 899. Unlike the Forest Service, the conservation
 6

 7   groups were actually opposed to use of snowmobiles.

 8          Similarly, in Sagebrush Rebellion v. Watt, the plaintiff challenged the former Interior

 9   Secretary’s actions in creating a conservation area in Idaho. 713 F.2d 525 (9th Cir. 1983). The
10
     case was being defended by the new Secretary of the Interior, but he was previously head of the
11
     legal organization representing the plaintiff in the lawsuit. Id. at 528. Under those circumstances,
12
     the Court found that the government’s defense did not adequately represent the interests of
13
     conservation groups which sought to intervene in the lawsuit. Id. As the Ninth Circuit
14

15   subsequently held, “Sagebrush Rebellion turns on the lack of any real adversarial relationship

16   between the plaintiffs and the defendants. That is not the situation here. Nothing in the record
17   before us suggests that defendants are unwilling or unable to defend Proposition 200.” Gonzalez
18
     v. Arizona, 485 F.3d 1041, 1052 (9th Cir. 2007) (upholding denial of intervention for citizen
19
     group “that put forth significant effort to ensure the passage of Proposition 200”); see also
20
     Wilson, 131 F.3d at 1301 (finding that public interest group that drafted and sponsored
21

22   Proposition 187 did not make compelling showing because it had the same objective as the

23   Governor: to defend the proposition). The same is true here.

24          The Coalition’s arguments that the State is not “protecting the personal religious liberties
25   of specific religious entities” also fails. First, as described above, the Coalition’s reputational,
26
     liberty, and religious interests are not “significant protectable” interests for purposes of this
27
     motion to intervene. The focus in this intervention analysis, therefore, is on the Coalition’s
28

                                                      - 12 -
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 19 of 23



 1   interest as proponent of the marriage ban, and Governor Sandoval adequately represents those
 2   interests as the governor of the state whose citizens approved of the ban. In any event, to the
 3
     extent that the Coalition believes the religious liberty of its members depends on prohibiting
 4
     same-sex couples from marrying, the State is protecting that interest by opposing Plaintiffs’
 5
     challenge. The government can competently protect the most personal of interests. See Dep’t of
 6

 7   Fair Empl. & Hous. v. Lucent Techs, Inc., 642 F.3d 728, 740-41 (9th Cir. 2011) (denying a

 8   terminated employee’s motion to intervene in a wrongful termination suit initiated by the

 9   Department of Fair Employment and Housing because the Department adequately represented the
10
     employee’s interests and sought the same remedies he did, namely reinstatement). As in Perry,
11
     the Coalition’s interest is not “meaningfully distinct” from the State’s interest: to defend the
12
     constitutionality of the marriage ban. Perry, 587 F.3d at 951.
13
            The Coalition has failed to overcome the presumption that the Governor adequately
14

15   represents its interests. Its motion to intervene as a matter of right should be denied.

16          C.      Subject To Certain Limitations, Plaintiffs Do Not Oppose The Coalition’s Motion
                    To The Extent It Seeks Permissive Intervention.
17
            Under Rule 24(b)(1)(B), a court may allow intervention if the applicant meets three
18

19   threshold requirements: (1) it shares a common question of law or fact with the main action; (2)

20   its motion is timely; and (3) the court has an independent basis for jurisdiction over the

21   applicant’s claims.” Perry, 587 F.3d at 955. Even if the applicant satisfies these requirements,
22
     the court can still deny intervention. Id. In exercising its discretion, a court should consider
23
     “whether intervention will unduly delay or prejudice the original parties, whether the applicant’s
24
     interests are adequately represented by the existing parties, and whether judicial economy favors
25
     intervention.” Pest Comm., 648 F. Supp. at 1214.
26

27          While the requirements of permissive intervention differ from those of intervention as a

28   matter of right, the Coalition’s motion does not meaningfully address permissive intervention.

                                                     - 13 -
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 20 of 23



 1   Nonetheless, Plaintiffs do not oppose the Coalition’s motion to the extent it seeks permissive
 2   intervention so long as certain conditions are imposed to ensure that the Coalition’s participation
 3
     does not “unduly delay or prejudice the original parties.” Id.7
 4
              When “granting an application for permissive intervention, a federal district court is able
 5
     to impose almost any condition.” See Lucent, 642 F.3d at 741-42 (quoting Beauregard, Inc. v.
 6

 7   Sword Servs., LLC, 107 F. 3d 351, 352-53 (5th Cir. 1997)); see also Van Hoomison v. Xerox

 8   Corp., 497 F.2d 180, 181-82 (9th Cir. 1974) (noting that “[t]he district court’s discretion . . .

 9   under Rule 24(b), to grant or deny an application for permissive intervention includes discretion
10
     to limit intervention to particular issues”). For example, courts have required permissive
11
     intervenors to file only non-duplicative discovery requests, NLRB v. Arizona, No. CV 11-00913-
12
     PHX-FJM, 2011 WL 4852312, at *9 (D. Ariz. Oct. 13, 2011); to jointly file briefs with the
13
     existing parties on the same side, Center for Biological Diversity v. Kempthorne, No. C 08-1339
14

15   CW, 2008 WL 4542947, at *4 (N.D. Cal. Oct. 2, 2008); and to comply with an existing litigation

16   schedule, River Runners for Wilderness v. Alston, No. CV-06-0894 PCT-DGC, 2006 WL
17   2971495, at *1 (D. Ariz. Oct. 17, 2006).
18
              Specifically, Plaintiffs request that the Coalition’s participation as a permissive intervenor
19
     be conditioned in three ways, in order to minimize undue delay and burden while allowing the
20
     Coalition’s participation in the case:
21

22                     1. the government defendants shall continue to be the lead defendants, and as
                          such shall control the scope of discovery on behalf of the government
23                        defendants and the Coalition (for example, although the Coalition may
                          participate and pose questions at depositions noticed by the government
24                        defendants, only the government defendants may notice any depositions);
25                     2. the Coalition shall not introduce witnesses on topics duplicative of those
                          addressed by witnesses introduced by the government defendants; and
26

27   7
      In non-opposing the Coalition’s request for permissive intervention, Plaintiffs do not concede that the Coalition has
     standing to pursue this case in this Court or on appeal. Nor do Plaintiffs waive the right to object to witnesses or
28   evidence presented by the Coalition.

                                                             - 14 -
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 21 of 23



 1                  3. the Coalition shall adhere to the Stipulated Discovery Plan and Scheduling
                       Order jointly filed by the parties on June 1, 2012 (Dkt. #39), and shall make its
 2                     best efforts to comply with future dates and deadlines agreed upon by Plaintiffs
 3                     and the government defendants.

 4          Although the Coalition’s interests do not justify intervention as of right, its interests can

 5   be fully protected by its participation as a limited permissive intervenor. Participation subject to
 6   the two conditions described above will allow the Coalition to attend depositions, to file its own
 7
     briefs, to present its arguments and evidence in defense of the marriage ban, and to fully explain
 8
     its position on the institution of marriage, the issue on which the Coalition claims particular
 9
     expertise. Limited permissive intervention also protects the rights of the Plaintiffs and will ensure
10

11   that their case is heard in a timely and expeditious manner without undue delay, burden, or

12   prejudice. See Pest Comm., 648 F. Supp. at 1214.

13    IV.   CONCLUSION
14          For the foregoing reasons, the Court should deny the Coalition’s motion to intervene as of
15
     right. Plaintiffs do not oppose the motion for permissive intervention subject to the following
16
     conditions: (1) the government shall continue to be the lead defendants, and as such shall control
17
     the scope of discovery on behalf of the government defendants and the Coalition; (2) the
18
     Coalition shall not introduce witnesses on topics duplicative of those addressed by witnesses
19

20   introduced by the government defendants; and (3) the Coalition shall adhere to the Stipulated

21   Discovery Plan and Scheduling Order jointly filed by the parties and shall make its best efforts to
22   comply with future deadlines agreed upon by Plaintiffs and the government defendants.
23
     //
24
     //
25
     //
26

27   //

28

                                                     - 15 -
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 22 of 23



 1   Dated: June 1, 2012
 2
     Respectfully submitted,
 3

 4   O’MELVENY & MYERS LLP
 5   By: /s/ Dawn Sestito
     CARLA CHRISTOFFERSON (pro hac vice)
 6   DAWN SESTITO (pro hac vice)
 7   MELANIE CRISTOL (pro hac vice)
     RAHI AZIZI (pro hac vice)
 8   400 South Hope Street
     Los Angeles, California 90071
 9
     JON W. DAVIDSON (pro hac vice)
10   TARA L. BORELLI (pro hac vice)
11   PETER C. RENN (pro hac vice)
     SHELBI DAY (pro hac vice)
12   LAMBDA LEGAL DEFENSE AND
     EDUCATION FUND, INC.
13   3325 Wilshire Boulevard, Suite 1300
     Los Angeles, California 90010
14

15   KELLY H. DOVE (Nevada Bar No. 10569)
     MAREK P. BUTE (Nevada Bar No. 09989)
16   SNELL & WILMER LLP
     3883 Howard Hughes Parkway, Suite 1100
17   Las Vegas, Nevada 89169
18   Attorneys for Plaintiffs
19

20

21

22

23

24

25

26

27
28

                                              - 16 -
     Case 2:12-cv-00578-JCM-PAL Document 40 Filed 06/01/12 Page 23 of 23



 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that I will electronically file the foregoing with the Clerk of the Court for

 3   the United States District Court, District of Nevada by using the CM/ECF system on June 1,

 4   2012. All participants in the case are registered CM/ECF users, and will be served by the

 5   CM/ECF system.

 6
                                   By: /s/ Melanie Cristol
 7                                 Melanie Cristol
 8                                 O’Melveny & Myers LLP
                                   400 South Hope Street
 9                                 Los Angeles, CA 90071

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28

                                                     - 17 -
